                      Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 1 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                __________ District of __________

  ANTI POLICE-TERROR PROJECT, COMMUNITY                                       )
  READY CORPS, AKIL RILEY, IAN McDONNELL,                                     )
   NICO NADA, AZIZE NGO, and JENNIFER LI, on                                  )
      behalf of themselves and similarly situated                             )
                            Plaintiff(s)                                      )
                                                                              )
                                v.                                                            Civil Action No. 3:20-cv-03866
                                                                              )
 CITY OF OAKLAND, OPD Police Chief SUSAN E.                                   )
MANHEIMER, OPD Sergeant PATRICK GONZALES,                                     )
 OPD Officer MAXWELL D'ORSO and OPD officer                                   )
               CASEY FOUGHT
                                                                              )
                           Defendant(s)                                       )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) City of Oakland
                                       City Hall, 6th Floor
                                       1 Frank Ogawa Plaza, Oakland, CA 94612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Dan Siegel
                                       SIEGEL, YEE, BRUNNER & MEHTA
                                       475 14TH Street, Suite 500
                                       Oakland, CA 94612




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         ST
                                                                           ATE
                                                                              S DISTR
                                                                                     IC
                                                                                       T                     CLERK OF COURT
                                                                     D
                                                                                                             Susan Y. Soong
                                                                                              CO
                                                                E
                                                              IT




                                                                                                UR
                                                            UN




                                                                                                  T




          June 12, 2020
                                                            N O RT




                                                                                                      NI A




                                                                                                                                        Felicia Brown
Date:
                                                                                                  OR
                                                              HE




                                                                                              IF




                                                                     N                            L
                                                                     R




                                                                         DI                   A
                                                                                           FC
                                                                              S T RI T O
                                                                                    C                               Signature of Clerk or Deputy Clerk
                       Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 2 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:20-cv-03866

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                      Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 3 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                      NorthernDistrict
                                                   __________  Districtofof__________
                                                                            California


  ANTI POLICE-TERROR PROJECT, COMMUNITY                                           )
  READY CORPS, AKIL RILEY, IAN McDONNELL,                                         )
   NICO NADA, AZIZE NGO, and JENNIFER LI, on                                      )
      behalf of themselves and similarly situated                                 )
                            Plaintiff(s)                                          )
                                                                                  )
                                v.                                                                 Civil Action No. 3:20-cv-03866
                                                                                  )
 CITY OF OAKLAND, OPD Police Chief SUSAN E.                                       )
     MANHEIMER, OPD Sergeant PATRICK                                              )
 GONZALES, OPD Officer MAXWELL D'ORSO and                                         )
         OPD officer CASEY FOUGHT                                                 )
                           Defendant(s)                                           )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) OPD Police Chief SUSAN E. MANHEIMER
                                           City Hall, 6th Floor
                                           1 Frank Ogawa Plaza, Oakland, CA 94612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Dan Siegel
                                           SIEGEL, YEE, BRUNNER & MEHTA
                                           475 14TH Street, Suite 500
                                           Oakland, CA 94612



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             ST
                                                                               ATE
                                                                                  S DISTR
                                                                                         IC
                                                                                           T                   CLERK OF COURT
                                                                         D
                                                                                                               Susan Y. Soong
                                                                                                   CO
                                                                    E
                                                                  IT




                                                                                                     UR
                                                                UN




                                                                                                       T




            June 12, 2020
                                                                N O RT




                                                                                                        NI A




                                                                                                                                            Felicia Brown
Date:
                                                                                                    OR
                                                                  HE




                                                                                                   IF




                                                                         N
                                                                                                   AL
                                                                         R




                                                                             DI
                                                                                  S T RI T O F C
                                                                                        C
                                                                                                                      Signature of Clerk or Deputy Clerk
                       Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 4 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:20-cv-03866

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                      Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 5 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                           for the
                                                      NorthernDistrict
                                                   __________  Districtofof__________
                                                                            California


  ANTI POLICE-TERROR PROJECT, COMMUNITY                                            )
  READY CORPS, AKIL RILEY, IAN McDONNELL,                                          )
   NICO NADA, AZIZE NGO, and JENNIFER LI, on                                       )
      behalf of themselves and similarly situated                                  )
                            Plaintiff(s)                                           )
                                                                                   )
                                v.                                                                    Civil Action No. 3:20-cv-03866
                                                                                   )
 CITY OF OAKLAND, OPD Police Chief SUSAN E.                                        )
     MANHEIMER, OPD Sergeant PATRICK                                               )
 GONZALES, OPD Officer MAXWELL D'ORSO and                                          )
         OPD officer CASEY FOUGHT                                                  )
                           Defendant(s)                                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) OPD Sergeant PATRICK GONZALES
                                           City Hall, 6th Floor
                                           1 Frank Ogawa Plaza, Oakland, CA 94612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Dan Siegel
                                           SIEGEL, YEE, BRUNNER & MEHTA
                                           475 14TH Street, Suite 500
                                           Oakland, CA 94612



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           ST
                                                                             ATE
                                                                                S DISTR
                                                                                       IC
                                                                                         T                    CLERK OF COURT
                                                                       D
                                                                                                             Susan Y. Soong
                                                                                                CO
                                                                  E
                                                                IT




                                                                                                  UR
                                                              UN




                                                                                                    T




             June 12, 2020
                                                              N O RT




                                                                                                      NI A




Date:                                                                                                                                      Felicia Brown
                                                                                                  OR
                                                                HE




                                                                                                IF




                                                                       N                          L
                                                                       R




                                                                                               CA
                                                                           DI
                                                                                S T RI T O F
                                                                                      C                              Signature of Clerk or Deputy Clerk
                       Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 6 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:20-cv-03866

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                      Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 7 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                           for the
                                                      NorthernDistrict
                                                   __________  Districtofof__________
                                                                            California


  ANTI POLICE-TERROR PROJECT, COMMUNITY                                           )
  READY CORPS, AKIL RILEY, IAN McDONNELL,                                         )
   NICO NADA, AZIZE NGO, and JENNIFER LI, on                                      )
      behalf of themselves and similarly situated                                 )
                            Plaintiff(s)                                          )
                                                                                  )
                                v.                                                                    Civil Action No. 3:20-cv-03866
                                                                                  )
 CITY OF OAKLAND, OPD Police Chief SUSAN E.                                       )
     MANHEIMER, OPD Sergeant PATRICK                                              )
 GONZALES, OPD Officer MAXWELL D'ORSO and                                         )
         OPD officer CASEY FOUGHT                                                 )
                           Defendant(s)                                           )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) OPD Officer MAXWELL D'ORSO
                                           City Hall, 6th Floor
                                           1 Frank Ogawa Plaza, Oakland, CA 94612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Dan Siegel
                                           SIEGEL, YEE, BRUNNER & MEHTA
                                           475 14TH Street, Suite 500
                                           Oakland, CA 94612



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           ST
                                                                             ATE
                                                                                S DISTR
                                                                                       IC
                                                                                         T                    CLERK OF COURT
                                                                       D
                                                                                                             Susan Y. Soong
                                                                                                 CO
                                                                   E
                                                                 IT




                                                                                                   UR
                                                               UN




                                                                                                     T




            June 12, 2020
                                                              N O RT




                                                                                                      NI A




                                                                                                                                       Felicia Brown
Date:
                                                                                                  OR
                                                                HE




                                                                                                 IF




                                                                       N
                                                                                                 AL
                                                                       R




                                                                           DI
                                                                                S T RI T O F C
                                                                                      C
                                                                                                                     Signature of Clerk or Deputy Clerk
                       Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 8 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:20-cv-03866

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                      Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 9 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                      NorthernDistrict
                                                   __________  Districtofof__________
                                                                            California


  ANTI POLICE-TERROR PROJECT, COMMUNITY                                        )
  READY CORPS, AKIL RILEY, IAN McDONNELL,                                      )
   NICO NADA, AZIZE NGO, and JENNIFER LI, on                                   )
      behalf of themselves and similarly situated                              )
                            Plaintiff(s)                                       )
                                                                               )
                                v.                                                                 Civil Action No. 3:20-cv-03866
                                                                               )
 CITY OF OAKLAND, OPD Police Chief SUSAN E.                                    )
     MANHEIMER, OPD Sergeant PATRICK                                           )
 GONZALES, OPD Officer MAXWELL D'ORSO and                                      )
         OPD officer CASEY FOUGHT                                              )
                           Defendant(s)                                        )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) OPD officer CASEY FOUGHT
                                           City Hall, 6th Floor
                                           1 Frank Ogawa Plaza, Oakland, CA 94612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Dan Siegel
                                           SIEGEL, YEE, BRUNNER & MEHTA
                                           475 14TH Street, Suite 500
                                           Oakland, CA 94612



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             ST
                                                                               ATE
                                                                                  S DISTR
                                                                                         IC
                                                                                           T                   CLERK OF COURT
                                                                         D
                                                                                                               Susan Y. Soong
                                                                                                   CO
                                                                    E
                                                                  IT




                                                                                                     UR
                                                                UN




                                                                                                       T




              June 12, 2020                                                                                                              Felicia Brown
                                                                N O RT




                                                                                                        NI A




Date:
                                                                                                    OR
                                                                  HE




                                                                                                   IF




                                                                         N
                                                                                                   AL
                                                                         R




                                                                             DI
                                                                                  S T RI T O F C
                                                                                        C                             Signature of Clerk or Deputy Clerk
                       Case 3:20-cv-03866-JCS Document 5 Filed 06/12/20 Page 10 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:20-cv-03866

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
